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       In the United States Court of Appeals
               for the Fifth Circuit
Susquehanna Nuclear, LLC,     )
                              )
                  Petitioner, )
                              )
         v.                   ) No. 25-60019
                              )
Federal Energy Regulatory     )
  Commission,                 )
                              )
                  Respondent. )
_____________________________ )_________________________

          Unopposed Motion to Govern of Respondent
            Federal Energy Regulatory Commission

      On February 25, 2025, this Court granted Respondent Federal Energy

Regulatory Commission’s (“Commission” or “FERC”) motion to hold the

above-captioned appeal in abeyance until the earlier of April 30, 2025, or FERC’s

issuance of an order on rehearing in the agency proceeding here on judicial review.

The Commission committed to ﬁling a motion to govern further proceedings

within 21 days thereafter.

      On April 10, the Commission issued its rehearing order in this matter. See

PJM Interconnection, L.L.C., 191 FERC ¶ 61,025. Accordingly, the Commission

now ﬁles this motion to govern the above-captioned appeal, which reﬂects the

outcome of discussions with the parties. The Commission proposes to ﬁle the
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agency record index by May 16, 2025. Further, the parties will propose a brieﬁng

schedule for the Court’s consideration by May 19, 2025. These dates account for

the possibility that a party could seek agency rehearing of the April 10 rehearing

order within 30 days of issuance of that order. See 16 U.S.C. § 825l(a).

      Counsel for the Commission has contacted counsel for Petitioner

Susquehanna Nuclear, LLC and Intervenors Vistra Corporation, American Electric

Power Service Corporation, Exelon Corporation, and PPL Electric Utilities

Corporation. All parties do not oppose this proposal.

      Accordingly, the Commission respectfully requests that the Court set a

deadline for ﬁling the agency record index of May 16, 2025, and a deadline for the

parties to ﬁle a brieﬁng proposal of May 19, 2025.

                                                Respectfully submitted,

                                                Robert H. Solomon
                                                Solicitor

                                                /s/ Jared B. Fish___________
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May 1, 2025

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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g)(1), I certify that this motion complies with

the type-volume limitation of Fed. R. App. P. 27(d)(2) because this motion contains

244 words, excluding the parts exempted by Fed. R. App. P. 32(f ).

      I further certify that this motion complies with the typeface requirements of

Fed. R. App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

because this motion has been prepared in Equity A 14-point font using Microsoft

Word 365.


                                             /s/ Jared B. Fish___________
                                             Jared B. Fish
                                             Attorney

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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 1, 2025, I electronically ﬁled the foregoing with

the Clerk of the Court for the United States Court of Appeals for the Fifth Circuit

by using the CM/ECF system. Participants in the case who are registered

CM/ECF users will be served by the CM/ECF system.


                                             /s/ Jared B. Fish___________
                                             Jared B. Fish
                                             Attorney


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